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                          MINUTE ENTRY FOR CRIMINAL PROCEEDING


BEFORE MAG.JUDGE 4A ^Ifej" ^1^                             ^            DATE:
DOCKETNUMBER:                        ll"] Ll                             LOG#:                     11:47

DEFENDANT'S NAME :                                  Mfglp
                  Present            Not Present       'Custody            Bail

DEFENSE COUNSEL:                      ^V)'lAy ]AJaa['^^
                     Federal Defender              CJA                  ^^Retained
A.U.S.A                                                   CLERX:        SM Yuen


Probation:                                               CLanguage)


_J/^efendant arraigned on the: V^ndictment superseding indictment probation violation
_v^''^Defendant pleads NOT GUILTY to ALL counts.
 l/Rule 5f Order read into the record,      y
      BAH- HEARING Held.                        Defendant's first appearance.
              Bond set at. ^               OOP             Defendant _j_^/^^eleased         held pending
          / satisfaction of bond conditions.
       \y    Defendant advised of bond conditions set by the Court and signed the bond.
             Surety(ies) sworn, advised of bond obligations by the Court and signed the bond.
             (Additional) surety/ies to co-sign bond by
       ___        After hearing, Court orders detention in custody.          Leave to reopen granted
      Temporary Order of Detention Issued. Bail Hearing set for

     At this time, defense counsel states on the record that the defendant does not have a bail
     application / package. Order of detention entered with leave to reapply to a Magistrate
     or to the District Court Judge to whom the case will be assigned.

    Order of Excludable Delay/Speedy Trial entered. Start                            Stop

      Medical memo issued.

      Defendant failed to appear; bench warrant issued.

     Status conference set for                     @                  before Judge

Other Rulings :
